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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON

02- 601 Subpoena E-03-376

TO: Al Haramain Foundation

3800 S. Highway 99 SUBPOENA TO TESTIFY
Ashland OR 97520 BEFORE GRAND JURY

SUBPOENA FOR: Av
( ) PERSON (4 DOCUMENT(S) OR OBJECT(S)

YOU ARE HEREBY COMMANDED to appear and testify before the Grand Jury of the United States District Court at the
place, date, and specified below.

Place:Federal Building | Courtroom:
211 East Seventh Avenue
Eugene, OR 97401

Date and Timers 6/03; 9:00 a.m.

YOU ARE ALSO COMMANDED to bring with you the following document(s) and/or object(s):

Please see Attachment A incorporated herein by reference.
The dates covered by this subpoena are from January 1, 1997 through the present date,

_ (Please see the disclosure statement on the reverse side of this subpoena.)

«« SEE Additional Information/Requirements Listed on the Reverse Side »»
This subpoena shall remain in effect until you are granted leave to depart by the court or by an officer acting on
behalf of the court.

U.S. MAGISTRATE JUDGE OR CLERK OF COURT DATE:
DONALD M. CINNAMOND, Clerk of Court 06/19/03
(By) DEPUTY CLERK: Sf one yet Dn
ATTORNEY'S NAME, ADDRESS AND, A puspuone NUMBER:
Christopher L. Cardani Requesting Agent:
701 High Street Special Agent Colleen Anderson
Eugene OR 97401 ‘Internal Revenue Service-CID
Phone: $41-465-6771 Phone: 541.776.4349

This subpoena is issued upon application of the:

O Defendant U.S. Attorney

“Revised 7/12/93 U.S.D.C. for Oregon - Grand Jury Subpoena
- 13/10 Page 3 of 60
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case ATTACHMENT A

ATTACHMENT TO SUBPOENA ISSUED TO: Al Haramain Foundation
FOR THE YEARS: 1997 - 2003

All corporate records and books of account relative to the financial transactions of the Al
Haramain Foundation.

To include but not limited to:

ALL CORPORATE BOOKKEEPING RECORDS and other financial records including
General Ledger, General Journals, all Subsidiary Ledgers and Journais, Gross Receipts
and income records, Cash Receipts and Disbursement records and/or Journals, sales
and Purchase records and/or Journals, Accounts Receivable and Payable Ledgers and
records, Bad Debt records, Cost of Goods Sold records, Loan Receivable and Payable
Ledgers, Voucher Register and ail sales and expense invoices including all invoices
documenting expenses paid by cash (currency ) or bank check (cashier or teller checks)
and retained copies of any bank checks (cashier or teller checks.)

Records reflecting the receipt of funds from individuals and/or entities, including records

reflecting the nature or classification of the funds received from the individuals and/or
entities.

Records reflecting the allocation of funds to individuals and/or entities, including
records reflecting the final disposition of the funds by the individuals and/or entities.

Records reflecting the nature or classification of funds allocated to individuals and/or
entities.

Inventory records establishing beginning and ending inventories including inventory
sheets, work-papers, and valuation records. Records and work-papers reflecting the
purchase, basis and depreciable life of assets. Records and work-papers of sales of
corporate assets such records disclosing the dates of purchase and sale, cost and sales
price, records establishing or adjusting

asset basis.

Corporate Minute Book, Stock Register or other records reflecting ownership of
corporate stock. All financial statements, bookkeeper's and/or accountant’s workpapers
used in the preparation of corporate records or tax returns. Retained copies of all
federal and state income, Payroll and excise tax returns.

SAVINGS ACCOUNT RECORDS: Including passbooks or bank statements, records
reflecting dates and amounts of deposits, withdrawals, interest, debit and credit memos,
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CHECKING ACCOUNT RECORDS: Including bank statements, deposit slips, records
revealing the identity of checks drawn on the account, checks deposited, all debit and
credit memos, and Forms 1099 issued.

ESCROW AND LOAN RECORDS: Including escrow files, applications, financial
statements, loan collateral, credit and background investigations required, loan
agreements, notes or mortgages, settlement sheeis, contracts, retained copies of
checks Issued for loans, repayment records, including records revealing the date,
amount and method of repayment (cash or check), checks used to repay loans and a
record disclosing the total amount of discount or interest paid annually, records of any
liens, loans correspondence files and internal memoranda relative to these loans.

RECORD FORMAT: In addition to hard copies, records are requested in the form of
magnetic media. Data may be provided in 3 1 /2 inch diskette,
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LAWRENCE MATASAR, P.C.

ATTORNEY AT LAW
621 5.W. MORRISON STREET, SUITE 1025
PORTLAND, OREGON 97205 5 Cc [g [ V [s
JUL 1 4
TELEPHONE: 503-222-9830 4 2003
FAX: 503-274-8575 US.
EMAIL: larry@pdxlaw.com Big ENE Ney

July 11, 2003

VIA MAIL AND FAX
FAX: 1-541-465-6840

Christopher L. Cardani
Assistant United States Attorney
701 High Street

Eugene, OR 97401

RE: Al Haramain Islamic Foundation, Inc.

Dear Mr. Cardani:

Pursuant to our telephone conversations, I am writing to inform you that I
represent Al Haramain Islamic Foundation, Inc. and Perouz Sedaghaty with regard to a
current IRS — CID investigation, including a subpoena dated June 19, 2003 requiring the
production of documents on July 16, 2003.

We have agreed that, on or before July 16, 2003, I will copy and send to your
office approximately 250 pages of documents that I have been provided. We have also

agreed that we will discuss further compliance with the subpoena when you return
from vacation in early August.

Thank you for your consideration and courtesy in this matter,

urs truly,

Le Jae
LAWRENCE MATASAR
LM/beg

ce: Al Haramain Islamic Foundation, Inc.
Perouz Sedaghaty
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Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 8 of 60

LAWRENCE MATASAR, P.C.

ATTORNEY AT LAW
621 S.W. MORRISGN STREET, SUITE 1025
PORTLAND, OREGON 97205

TELEPHONE: 503-222-9830
PAX: 503-274-8575
EMAIL; larry@pdxlaw.com

ECEIVE

JUL 17 2003

U.S, ATTORNEY
EUGENE, OR

July 15, 2003

Christopher L. Cardani
Assistant United States Attorney
701 High Street

Eugene, OR 97401

RE: Al Haramain Islamic Foundation, Inc.
Dear Mr. Cardani:
Enclosed is a copy of the documents we discussed in the above matter.

Yours fauly,

LAWRENCE MATASAR

LM /smw

Enclosure

cc) . Al Haramain Foundation
* Perouz Sedaghaty
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 9 of 60

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Re: Al Haramain Foundation financial records

Financial details provided: 00001-00456

-Check dated 12/31/97 for $187,126.35, which appears fo be for the purchase of the
Ashland prayer house.

1999
-Monthly billing report that includes deposit and expenditure details
-Profit and Loss statement

-Balance Sheet

2000
-Profit and Loss statement

-Balance Sheet

2001
-Check detail which includes check expenditures
-Profit and Loss statement

-Balance Sheet

Missing Items:

-Escrow records pertaining to the purchase of the Ashland, OR prayer house
-Financiai records indicating the actual donor(s) of the funds used to purchase the

Ashland, OR prayer house

1999

-List of employees, sub contractors, and their functions

-List of individual donors associated with contribution income and how to reach these
individuals for confirmation (address, phone number)

-Backup documentation pertaining to funds received from donors, including donation
receipts

-Backup documentation showing funds used for charitable purposes including funds
distributed to other charitable organizations, assistance of refugees, and funds sent to

Kosovo, Chechnia, and Albania
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 11 of 60

2000

-List of employees, sub contractors, and their functions

-Reports that include deposit and expenditure details

-List of individual donors associated with contribution income and how to reach these
individuals for confirmation (address, phone number)

-Backup documentation pertaining to funds received from donors, including donation
receipts

-Backup documentation showing funds used for charitable purposes, including funds
distributed to other charitable organizations, assistance of refugees, and funds sent to
Kosovo, Chechnia, and Albania

-Escrow records pertaining to the purchase of the Springfield, MO prayer house
-Financial records indicating the actual donor(s) of the funds used to purchase the

Springfield, MO prayer house

2001

-List of employees, sub contractors, and their functions

-Report that includes all deposit and expenditure details

-List of individual donors associated with contribution income and how to reach these
individuals for confirmation (address, phone number)

-Backup documentation pertaining to funds received from donors, including donation
receipts

-Backup documentation showing funds used for charitable purposes including funds
distributed to other charitable organizations, assistance of refugees, and funds sent to

Kosovo, Chechnia, and Albania
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 12 of 60

Additional information:

-Who is currently in control of the organization? (directors, etc)

-Who is the religious leader who performs prayers?

-Who has control over the prayer house? (keys, locked gate, etc.)

-Who is David Jalajel and why is he receiving funds from the organization?

-At what point will | be able to speak with the two women who input the records? (Laleh &
Summer)

-What was the charitable purpose behind the loan(s) to Midway Networks?

-Does the Al Haramain Foundation in Riyadh, SA control the funds for the US based
organization? if so, produce documentation reflecting that the organization retains

necessary backup documentation reflecting contribution income and donations to other

charitable organizations.
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Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Rage 14,07 60

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LAWRENCE MATASAR, P.C.

ATTORNEY AT LAW
621 5.W. MORRISON STREET, SUITE 1025
PORTLAND, OREGON 97205

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S
TELEPHONE: 503-222-9830 EP I & 2003
FAX: 503-274-8575
EMAIL: larry@pdxlaw.com U.S. ATTORNEY
EUGENE, On

September 10, 2003

Christopher L. Cardani
Assistant United States Attorney
United States Courthouse

701 High Street

Eugene, OR 97401

RE: Al Haramain Islamic Foundation, Inc.
Dear Mr. Cardani:

Following our meeting a few weeks ago, I have taken several steps toward
providing the government with additional documents pursuant to your subpoena. I
have spoken to Mr. Ghaty, reviewed numerous documents, met with Mr. Ghaty’s
previous attorneys in Ashland, and met with Mr. Ghaty’s accountant in Medford.

My client has asked me to inform you that he intends to fully cooperate with the
government's subpoena. However, I have so far been unable to review the numerous
“backup” documents that you have requested. Therefore, I suggest that you and I
meet to discuss this matter in approximately 30 days, by which time I expect to have
obtained and reviewed the documents you have requested, or if not, to have taken

substantial additional steps toward this goal.

~LAWRE nck boners

Yours

LM/smw
cc: Al Haramain Foundation
Perouz Seda Ghaty
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Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 16 of 60

Re: Al Haramain Foundation financial records

Financial details provided: 20001-20140

-1998 Monthly billing report signed by Albuthe & Seda

1999

-Deposit for Refugees summary

-Office expenses for 1999

-Mailing expenses for 1999 & Jan. 2000
-Some deposits for 1999 (? Listed)
-Partial deposit listing for Refugees

2000

-Copies of three donated checks, (1) $50,000 ISNA, (2) $4,000 ISNA, (3) $196.75 from ?
-List of checks used to purchase Springfield prayer house; copy of B of A cashier's check
for $318,291.74 & copy of B of A cashiers check to Kanan Law Firm for $10,000 used for
purchase

~Sales agreement & closing statement for purchase of Springfield prayer house

-Agreement between Soliman & Abu Yunus for $186,644.70 dated 3/11/00; money
deposited to head office for Chechnya relief funds.

-Copy of $21,000 BofA cashiers check to Soliman Albuthe dated 3/11/00 with notation
Donations for Chichania Refugees.

-Letter of thanks from Aqueel to Mahmoud T. Al-Fiki for $150,000 to Chechnyan crisis.
-Partial deposit listing for Refugees (Jan& Feb?)

-Summary reports for Jan. Feb. Apri! & May of 2000

Statement of accts. For July 2000

-Some deposits for 2000 (‘?listed)

001

-Profit and Loss statement from Jan.-April 24, 2001
-Register for ICSM 1/01-4/01

-Register for Al Haramain, sorted by amts. Deposits & checks.

Missing Items:

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-Financial records indicating the actual donor(s) of the funds used to purchase the
Ashland, OR prayer house

1999

-List of employees, sub contractors, and their functions

-List of individual donors associated with contribution income and how to reach these
individuals for confirmation (address, phone number)

-Backup documentation pertaining to funds received from donors, including donation
receipts

-Backup documentation showing funds used for charitable purposes including funds
distributed to other charitable organizations, assistance of refugees, and funds sent to

Kosovo, Chechnia, and Albania

2000

-List of employees, sub contractors, and their functions

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distriputed to other charitable organizations, assistance of refugees, and funds sent to

Kosovo, Chechnia, and Albania
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Additional information:

-Who is currently in control of the organization? (directors, etc)

-Who is the religious leader who performs prayers?

-Who has conirol over the prayer house? (keys, locked gate, etc.)

-Who is David Jalajel and why is he receiving funds from the organization?

-At what point will | be able to speak with the two women who input the records? (Laleh &
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-Does the Al Haramain Foundation in Riyadh, SA control the funds for the US based
organization? If so, produce documentation reflecting that the organization retains

necessary backup documentation reflecting coniribution income and donations to other
charitable organizations.
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LAWRENCE MATASAR, P.C. b ECEIVEC

ATTORNEY AT LAW |
621 S.W. MORRISON STREET, SUITE 1025
PORTLAND, OREGON 97205 i OCT 3 0 2003

U.S, ATT
TELEPHONE: 503-222-9830 EUGENE, On.

FAX: 503-274-8575
EMAIL: larry@pdxlaw.com

October 27, 2003 —

960 Ellendale}
Medford, OR 9

RE: Al Haramain Investigation
Dear Ms. Anderson:

I have enclosed documents for your review, Bates numbers 300001 - 301522.

LAWRENCE MATASAR
LM /smw

Enclosures
ce: Pete Seda
Christopher Cardani
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LAWRENCE MATASAR, P.C.

ATTORNEY AT LAW
621 5.W. MORRISON STREET, SUITE 1025
PORTLAND, OREGON 97205

TELEPHONE: 503-222-9830
PAX; 503-274-8575
EMAIL: larry@pdxlaw.com

February 26, 2004

Christopher L. Cardani
Assistant United States Attorney
United States Courthouse

701 High Street

Eugene, OR 97401

Dear Mr. Cardani:

lam writing to confirm that I represent Perouz Seda Ghaty regarding your
investigation. 1 do not represent Al Haramain (USA), Al Haramain (Saudi Arabia), nor
Soliman Albuthe.

I will suggest that Al Haramain (USA), Al Haramain (Saudi Arabia), and Mr.
Albuthe obtain separate counsel on this matter, and I will suggest that their lawyers
write you a letter of representation.

Thank you for your consideration.
Yours truly,

Ja fefrwe

LAWRENCE MATASAR

LM /smw
cc: Perouz Seda Ghaty
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Declaration
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eT

Bismillah
May prayers and peace be upon the Messenger ‘Mubammad

This is an agreement bet Soliman and Abu Yunus. This agreement states,

« that Abu Yunus is tuming all monies and responsibilities that were collected
» for the Brothers and Sisters in Chechnya over to Brother Soliman. Soliman |
‘states that he has received monies in the amount of

and he alg full reli Ves Abu Yunus of all responsibilites t to the money.

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2 ete
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v Date: 4° of Thul Hijjah, 1420
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Witness #1: +

Witness #2;

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Declaration
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 28 of 60

\ ~ Bismillah
oo May prayers and peace be upon the Messenger Muhamniad
This is an agreement bet Soliman and Abu Yunus. This agreement states,
that Abu Yunus is turning all monies and responsibilities that were collected

for the Brothers and Sisters in Chechnya over to Brother Soliman. Soliman
- states that he has received monies in the amount of 8

and he also fully relieves Abu Yunus of all responsibil to the money.

xy Ea LLLP
Date: 4" of Thul Hijjah, 1420 -

Witness #1: “he ae

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Witness #2: LE (4th eet. beer

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EXHIBIT

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IRCHASE PRICE: $ 375.000 USD.

iD BY:

NAME
1 ALHARAMAIN FOUNDTAION
2. MR. MOHAMMAD QADDAS
3. MR. WALEED ALHATWAN!
4. MR. SAMEER ALHADRAM!
5, MR. KAANAN

COMMUNITY FUND RAISING:
ALHARAMAIN FOUNDTAION:
TOTAL

vO?

f"

AJAOUNT

$ 275,000 USD.

$ 20,000
$ 25.300
$ 50, 000
$ 10.000

$ 105,350 USD
$ 275, 000
$ 280,300 USB

REMARKS

Board Mémber, Springfield, MO
Board Member, Spiingfielcl, MO
Board Member, Springfield, MO
Board Member, Springfield, MO

GOVERNMENT
EXHIBIT
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 31 of 60

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Me AGREEMENT OF SALE AND PURCHAST.
o THIS AGREEMENT, made hi c
.Municipat’ Financial Group, Ine. ° yet ation hereinafter

Munici et corporation (hereinafter
roltectively referred te as "Seller'S,~ and AL Haramain Foundation, a
oundation, (hereinafter referred to as “Purchaser’).

WHERBAS, Seller is t

he fee simple owner of certain i
y mproved, real propert
focated in Greene County, : * “ee

Missouri; and

WHEREAS, Purchaser desires’ to purchase, and Selier is willing to sell said
Property upon the terms and conditions set out hereinafter,

_ NOW, THEREFORE, in consideration of the premises and for good and sufficient
consideration passing from each of the parties hereto to the other, the receipt
whereof is hereby acknowledged by cach party, and in consideration of the mutua!

promises contained herein to be performed by the parties hereto, and each pariy
intending to be legally bound hereby, it is agreed as follows:

SECTION |

Lot, Agreement to Seil and Convey. Seiler hereby agrees to sell and
convey to Purchaser, and Purchaser hereby agrees (0 purchase from Seller, subject
to the terms and conditions hereinafter set forth, all that certain parcel of
unimproved land, lying and being sitiated in the City of Springfield, County of
Greene, State of Missouri, being more particularly described as follows:

See EXHIBIT “A" attached hereto and incorporated herein

together with the following:

. (a) All and singular, the rights and appurtenances pertaining
thereto, including any right, title, and interest of Seller in and to adjacent streets,
roads, alleys, accesses, and rights-of-way,

. (b) Such other rights, interests, and properties as may be specified tn -
this Agreement to be sold, transferred, assigned, or conveyed by Seller to Purchaser.

. (c) All site plans, surveys, soil and substrata studies, architectura!
tenderings, plans and specifications, engincering plans and studies, and other plans.

diagrams, or studies of any kind, if any, in Seller's possession which relate to the
Property.

The parcel of jand legally described in Exhibit “A" and depicted on the
drawing in Exhibit A-1, attached hereto and incorporated herein, together with the
improvements, rights, interests, and other properties described above, are
collectively called the “Property”,

1,02, Purchase Price. The Purchase Price for the Property (the
“Purchase Price") to be paid for the Property shall be the sum of Three Hundred

Seventy Five Thousand ,DOLLARS ($375,000.00 }. The Purchase Price shall be payable
as follows:

1.03. - it. In order to secure the
performance of Purchaser under the terms and provisions of this Agreement,

Purchaser wilf deliver, to KANAN LAW OFFICE, 2914 &. 32nd Street, Suite 111, Joplin,
MO 64804 Attention: Lola L. Shaw, Paralegal, (the temporary escrow check holder),
the following eamest money deposit and KANAN LAW OFFICE may endorse said check
over to any qualified Title Company to hold as escrow holder (the “Escrow Deposit"):

{a} At the complete execution of this Agreement, Purchaser shall!
deposit the amount of Ten Thousand Dollars ($10,000.00) in the form of cashier's or
certified check, to be held and disbursed by the Title Company in accordance with the
terms and provisions of this Agreement, and such funds shall be applicable to the
Purchase Price. In the event Purchaser shall fail to. consummate the transaction
contemplated in this Agreement for any reason, except for either default of Seller or
the failure any of the conditions to Purchaser's obligations to be satisfied, the Title
Company shall deliver $5,000.00 of the Escrow Deposit to Seller, and it shali be and
become the Property of Seller, such sum being agreed upon as liquidated damages for
the failure of Purchaser to perform the duties, liabilities, and obligations imposed

upon it by the terms and provisions of this Agreement for the purchase of the
subject Property; and

(b) A cashier's or certified check o¢ wire transfer in the amount of
Three Hundred Sixty Five Thousand DOLLARS ($365,000.00 ) for the remaining
balance due to be paid at the time of closing.

SEA

Mw

GOVERNMENT
EXHIBIT

Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 33 of 60

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= » sul WEY_AND TEOTLE COMM UiMENT: PERMITTED EXCEPTIONS AND. CONTIPGENCIES
. fale Preliminary Tide Report. Within ten days after the contract has
been fully, executed by beth parties, Seller shall cause the Tithe Insurance Company to
issue and deliver to Purchaser, at Seller's expense, 2 current ALTA 1970 Form B
(amended 10/17/70) Commitment for an extended coverage owner's policy of fitle
insurance {the “Tithe Commitment”), accompanied by a copy of all recorded
eocuments affecting the subject Property and. which wil) constitute encumbrances -
against the Property at the Closing.

paimst Purchaser shall give Seller written notice
within fifteen days after Purchaser's roccipt of the Tile Commitment that the

conditions of litle as set forth in auch Tithe Commitment is or is not satisfactory, and
in the event Purchaser states thal the condition of title is not satisfactory, Seller
shail, at its sole cost and expense, promptly undertake io eliminate or modify all such
unacceptabie matters to the reasonable satisfaction of Purchaser.
its best efforts io Satisfy said objections promptly, In the event Seller is unable to
satisfy said objections as to the Property within fifteen days after receipt of ihose
objections, Purchaser then has the option to rescind the agreement or waive the
ebjections, at its option, and (a} accept tile subject to the objections raised by
Purchaser, without any adjustment in the Purchase Price, in which event, said
objections shafl be deemed to be waived for all purposes, or (b} rescind this
Agreement, whereupon the Escrow Deposit shall be returned to Purchaser by the
Title Company, and this Agreement shall be of no further force and effect.

2.02. urvey. On or before May 26, 2000, Seller shall order and
cause to be completed and delivered a currently certified ALTA certified boundary
line survey with legal descriptions as to the Property, Improvements, Easements and
all other matters in such detail as shall be required by the Title Company to remove
any and all {itle exceptions as to items that would be disclosed by the Survey. in the
event the Survey shows any: encroachments of any improvement upon, from, or onto
the Property, on or between any building setback line,.a properly line, or any

easement, said encroachment ar casement shal] be deemed to be a tle defect ‘unless
included as a Permitted Exception.

Seller agrees to use

(a) Purchaser shall pay for the survey at closing. In the event
Purchaser does not close upon the Property, Purchaser shall pay for the survey; and

(b) The Seller and Purchaser shall initial the final survey to
evidence agreement. :

2.03. Perimitied [xceptions. The Property shall be conveyed to
Purchaser subject to no liens, charges, encumbrances, exceptions or reservations of

any kind or character other than the following exceptions (the “Permitted
Exceptions’):

(a) The egsements, liens, exceptions, and other encumbrances shown
on the Title Commitment, which are affirmatively approved by Purchaser within 30
days after receipt of the title commitment. Purchaser's failure to approve in writing
any exception shall be considered ta be a disapproval of such exception.

2,04, This Agreement shall also be
contingent upon approval by Purchaser, in Purchaser's sole discretion, of:

(i) this Agreement; and

(ii) the Property described herein (site) ond improvements; and

(iti) Purchaser delermining that:

(a) adequate sanitary sewer and storm sewer or other
suitable drainage facilities, water, gas and electric utility

services are available ta the Property and functioning
wejl; and

(b} all such utilities are either available in the adjacent

public right of way or supported by recorded casements;
and

(iv) Purchaser having a study period of sixty (60) days after the
effective date within which to make, at Purchaser's expense, such tests and site
assessments as it deems advisable to determine if there is an environmental condition
(defined below} involving hazardous materials on or emanating from the premises.
The cost of such initial assessment shall be paid by Purchaser. If the tests and/or sile
assessments indicate that there is an environmental condition invalving hazardous
materials, Purchaser shall have the option to extend the study period an additional
sixty (60) days. If Purchaser discovers an environmental condition {at Purchaser's
sole discretion) invelving hazardous materials during the study period, Purchaser
may eleet te rescind this agreement and all earnest money shall be returned to
Purchaser. “Environmental condition” sha}l include conditions with respect to soil.
subsurface, surface waters, ground waters, stream sediments, air, and other material
existing at or emanating from the real estate, regardless of whether such ap fy
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 34 of 60

Ad env¥uponmental tondiliog ig natirally occurring or. -pesulis from activities of Seilers
“ . q . .
a or theit respective predecessors in interest or oihets,
SECTION 3
. PROVISIONS WET RESPECT TO CLOSING
2.01. Closing Date, The consummation of the tansactions contemplatcd

by this agreement shall tentatively take piace in the offices of the Title Company on
such cate {the “Closing Date") as Purchaser and Seller shall subsequently determine
in writing, but in no event tater than July 21, 2000.

3.02. : pig n&_al the Closing As the closing of the Property,
Seller shall do the following:
{a} Authority to Transfer. Deliver to the Title Company any affidavits

or other documents required by the Title Company to: authorize the execution and
delivery by Seller of this Agreement; and all other documents and instruments

necessary or advisable to consummate the transaction contemplated hereby. AH such
copies shal} be in recordable form.

(b) ‘Titie Insurance Policy. Cause to be furnished and delivered to
Purchaser al Purehasers costs, after all instruments are recorded and returned and
all requirements of the commitment are met, an owner's title insurance policy issued
by the Title Company, insuring good and marketable fee simple tithe as to the
conveyed tract in Purchaser in a face amount equal to the Purchase Price and
improvements on the Property totaling $375,000.00, and containing no exceptions
other than the Permitted Exceptions, and other exceptions, if any, which Purchaser
may, in Purchaser's sole discretion, consent to in writing, The said policy shall be
accompanied by such endorsements as Purchaser may reasonable require.

(¢} Affidavit, Execute and deliver to Purchaser a certificate
certifying, as of the Closing Date, that there are no mechanic's liens or other liens
against the Property which are not shown of record on Title Company's form.

{d) Warranty Deed. Execute and deliver to Purchaser a General
Warranty Deed or other appropriate deed, conveying the Property free and clear of
all encumbrances whatsoever, except as Purchaser shall have actepted.

3.03. Purchaser's Obligations al Closing. Subject to the terms,

conditions, and provisions hereof, and contemporaneously with the performance by

Seller of its obligations set forth above, Purchaser shall deliver to Seller or Title
Company, the following: ‘

Ca} A cashier's or certified check or wire transfer in the amount of
Three Hundred Seventy Five Thousand DOLLARS ($375,000.00 ).

3.04, Closing Costs: Seller, Seller shall pay the following costs and
expenses in connection with the Closing: (a) the costs of the preparation of the

commitment and Warranty Deed or other appropriate deed; and (b) one-half (1/2) of
the Closing fee.

3.05. i : aser: Purchaser shall pay the following costs
and expenses in connection with the Closing: (a) the costs of the preparation and

recording of any loan documents; (b) the cosis of recording the Warranty Deed or
other appropriate deed; (a) the costs of the preparation of the Survey: (d) .
Purchaser's attorney’s fees and costs, and (e) the premiums payable for the Owner's

policy of Title Insurance to be furnished to Purchaser, and (f) one-half (1/2) of the
Closing fee.

SECTION 4
AFFIRMATIVE COVENANTS

Purchaser and Seller hereby agree as follows:

4.01, Inspection. Purchaser and its agents and representatives shall

be entitled to enter upon the Property for inspection, soil tests, examination, and
planning prior to the Clasing.

4,02, Further Assistance. Seller and Purchaser agree to perform such
other acts, and to execute, acknowledge, and/or deliver subsequent ta the Closing
such other instruments, documents and other materials as Seller of Purchaser may
reasonably request in order to effectuate the consummation of the transactions
contemplated herein and to vest title to the Property in Purchaser.

4,03, Payment of Taxes. General real estate taxes for the current year
shail be prorated as of the date of closing. The portion of tax attributable to

Purchaser shall be charged to Purchaser at the time of the closing, and Seller shall

be responsible for paying all taxes at the time they become due and payable. and
shall provide Purchaser with proof of such payment.

Pavey
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 35 of 60

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a . aMAMY, by Seller and Purchaser, Seller and Purchaser agree
to indemnify and kold harmless each at the othe: from and agaiast, and to
retmburse each and the other with respect io any and all claims. demands. causes of
action, Toss, damage, liabitities, costs and ‘expenses (including attorneys’ fees and
couel Costs) asserled against or incerred by one against the other by reason of or
ansing out of (a) the breach of any representations of warranty of cach to the other
set forth im this Agreement, (b) the Failure of each cr the other to perform any
obligation required by this Agreement to be performed By one or the other.

SECTION 5
SELLER'S. REPRESENTATIONS AND WARRANTIES

Seller hereb

. ¥ ‘represents and warrants as of the date hereof and as of the
Closing Date:

5.04, Seller has good, marketable and insurable title
to the Property, free and clear of all mortgages, liens, encumbrances, tenancies,

security "interest, covenants, conditions, restrictions, rights-of-way, easements,
judgments and other matters affecting the title except the Permitted Exceptions.

5.02 vi . .
information and belief of the Seller,
been disposed of or otherwise placed
reports been filed by or with any a
presence of any hazardous substance

The Seller warrants that to the best knowledge,
no hazardous substance or hazardous waste has
or left upon the subject Property, nor have any
uthority having jurisdiction disclosing the

or hazardous waste upon the subject Property.

5.03 tj Seller has no knowledge of any pending or
Prospective condemnation effecting the property or access thereto.
5.04

The execution, delivery and performance of this
any instruments or agreements to which Seller is a
writ, order, rule or regulation to whick Seller is

Contract does not conflict with

party, of any judgment, decree,
subject.

3.05 Seller Knowledee, Selter has no knowledge of

(i) any violations of any applicable law, ordinance, rule,
regulation or order against or affecting the Property, or any litigation or other

proceeding pertaining thereto including, without limitation, environmental laws,
ordinances, rules, tegulalions and orders; and

(it) any existing, presently pending, or threatened actions,
suits or proceedings affecting the Property; or

(iii) any -pending but uncertified, unsatisfied,
unconfirmed or unrecorded special assessment which, when certified, ratified or
confirmed would result in a lien of the Property,

5.06 Seller has not made any special
agrecments with the utility company which supplies the electrical cucrent or gas for
the Property, or any eclecteical or other equipment or facilities furnished except
concerning the usual charges for consumption of electrical current and gas.

5.07 Leases, There are no leascs or other rights of occupancy for the
Property and the property is vacant,

5,08 Further Agreements, Sefler shall not further encumber the

Property by entering into casement agreements, restrictive covenants, or other
matters,

SECTION 6

6.01. Conditions. to Purchaser's Obligations, The obligations of
Purchaser hereunder to consummate the purchase is subject to the satisfaction, as of
the Closing, of each of the following conditions, in addition to any conditions above
stated, which conditions may be waived, in whole or in part, in writiag, by Purchaser
at or prior to the Closing. In the event of the failure of any condition, the Title
Company, shail immediately refund all Escrow Deposits to Purchaser, and thereafter,

this “Agreement shall be null and void, and neither party shall have any further
tights or obligations hereunder.

$.02. Purchaser and Seller shalt have performed,
observed, and complied with all of the covenants, agreements, and conditions
required by this Agreement to be performed, observed, and complied with by it prior
ta or as of the Closing,
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 36 of 60

74 Le Sil bias f
ae PROVISION WITH RESPECT TO FAILURE +
OF TOLE. DEFAULT. AND SECURITY. DEPOSIT

7.01, Failure _of Tile. 1H Seller shall be unable to convey title to the
Properly or any portion thereof on the Closing Date in accordance with the
provisions of this Agreement, {a} Seflér shall, on or prior to the Closing Date, give
notice of such inability (and the nature thereof) to Purchaser, and (b) Purchaser
may either accept such title as Seller can conyey, without abatement of the Purchase

Price, or terminate this Agreement, in which ‘event the Escrow Deposit shall be
forthwith returned to Purchaser. ,

7.02. Default by Seller. In the event that Seller should [ail to
consummate the transactions contemplated herein For any reason, excep!
Purchaser's default or the failure of any of the conditions to Seller's obligations sel
forth herein to be satisfied as required herein, Purchaser may enforce specific
performance of this Agreement and in such action shail

damages suffered by Purchaser by reason of the delay in
Property, and

have the right to recover

the acquisitions of the
in which event the Escrow Deposit shall be forthwith returned Co

Purchaser (even though an action for specific performance has been commenced).

No delay or omission in the exercise of any right or remedy accruing to Purchaser

upon any breach by Seller under this Agreement shall impair such right of remedy
or be construed as a waiver of any such breach theretofore or thereafter occurring.
The waiver by Purchaser of any condition or of any subsequent breach of the same
or any other term, covenants, or conditions herein contained shail not be deemed to
be a waiver of any other condition or of any subsequent breach of the same or any

other term, covenant, or condition herein contained. All rights, powers, options, oF
rametdies afforded 10 Purchaser either hereunder or by law shall be cumulative and
not alternative, and the exercise of one right, power, option, or remedy shall act bar
other rights, powers, options, or remedies allowed herein or by law.

7.03. In the event Purchaser should fail to
consummate the transaction contemplated herein for any reason, except default’ by
Seller or should any of the conditions to Purchaser's abligations not be sattsfied,
Selier shall be entitled to $5,000.00 of the Escrow Deposit as liquidated damages and
shall be and become the property of Seller, such sum being agreed upon as liquidated
damages for the failure of Purchaser to perform the duties, liabilities, and obligations
imposed upon it by the terms and provisions of this Agreement and because of the
difficulty, inconvenience, and uncertainty of ascertaining actual damages, no other
damages, tights, or remedies shall in any case be collectible, enforceable, of
available to Seller other than us provided in this paragraph, and Seller agrees to
accept and take $5,000.00 of the Escrow Deposit as its total damages and relief
hereunder in such event. No delay or omission in the exercise of any right or
remedy accruing to Seller upon any breach by Purchaser under this Agreement
shall impair such right or remedy or be construed as a waiver of any such breach.

7.04, ‘ Should either party employ an attorney or
attorneys to enforce any of the provisions hereof or to protect its interest in any

matter arising under this Agreement or to recover damages far the breach of this
Agreement, the losing party in any final judgment agrees to pay the prevailing

party all reasonable costs, charges, and expenses, including attorney's fees, expended
or ineurred by it in connection therewith.

SECTION 8

8.01. Brokerage. Commissions. Seller represents to the Purchaser, thal
Heyle Realtors & Counseling Services acts on behalf of Seller, and Seller ts

responsible for all brokerage commissions in connection with this transaction.

SECTION $

9.01. Risk of Loss. Ali risk of loss or damage to the Property pricr to
Closing, including, but not iimited to, loss vy fire, windstorm, oF other casualty, shall

rest with Seller. If, prior to the Closing, the Property is damaged as a result of fire or
other casualty, Purchaser shail have the option to:

(a) Accept title to the Properly without any abatement of the

Purchase Price whatsoever, and any insurance proceeds payable to the Seller or iis

successors or assigns shall be paid over to Purchaser at closing, or

(b} Caneel this Agreement. in which event neither party shall have
any furcher Wability or obligation to the other hereunder and the Escrow Deposst
shall be forthwith returned to Purchaser by the Title Company.
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 37 of 60

“S

ot Sail ophion shall be exercised by Purchaser by delivermg fo Seller
written natice of such cxercise on or before the tenth (10th) day following the date
en awhich Purchaser received notior that such fire or -olher casualty has otcurred.
bul in no event later than the Date of Closing. In the event Purchaser shall fail to
exercise said ‘option within the ten (16) day period. then Purchaser shall be deemea to
have -elected the altcrnative set forth, in subparagraph 9.0b(a) above.

9.02. Agsignability. Subject to the terms of this Agreement, Purchaser
and Seller shail mot assign this Agreement.

9.03. Notices. Any notice to be given of to be served upon any partly
hereto in connection with this Agreement must be in writing and shal} be given by
certified or registered mail and shall be deemed tc have been given and received
when a certified or registered letter containing such notice, properly addressed, with
postage prepaid, is deposited in the United States mails. Such notice shall be given
the parties hereto at the following addresses:

SELLER: PURCHASER,

Kirk A. Heyle R. DB. Kanan

Heyle Realtors & Counseling Services KANAN LAW OFFICE
309 South: National Avenue 2914 Bast 32nd Street
Springfield, MO 65802-3420 Suite 111

Joplin, MO 64804

Any party hereto may at any time, by giving five (5) days written notice to the
other party hereto, designate any other address in substitution of any of the
foregoing addresses to which such notice shall be given and olher parties to whom
copies of all notices hereunder shail be sent.

9.04. Binding Effect. This Agtcement shail be binding upon and shalt
insure to the benefit of the parties hereto and their successors and assigns.

9.05, ‘Time of Essence. Time is of the essence of this Agreement.

9.06. Law, This entire Agreement shall be construed and interpreted

under the laws of the State of Missouri.

IN WITNESS WHEREOF, the parties hereto have executed this Agrcement of Sale
and Purchase on the day and year hereinbefore written.

SELLERS: Municipal Financial Group, [nc.

Printed Name:
Title:
Date of Execution:

; PURCHASER: Al Haramain Foundation

X Printed Name:
Title:
Date of Execution:

EXHIBIT A Legal Description
EXHIBIT A-1 Property Drawing .
EXHIBIT A-2 Currently certified ALTA certified boundary fine survey

with Jegal descriptions as to the Property, Improvements
Easements and all other matters
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 38 of 60

CR 05-60008-HO
Declaration
Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 39 of 60

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UMB Na 2392.0705
8. Type of Loan .
: - | Fu ze f se Number
iC FRA 2, [7] FmHA 3. {3 Cony. Unins Fie Numb f Loan Humber, Morigage Insurance Gase Numb
4. [[] vA 5, [7] Conv. Ins. “

C, NOTE: This form is urnshed to give you & statement of aciual setlement costs. Amounts paid to and by the settlement agent are shown.
hams marked "p.c.c’ were paid outside of closing; lhey ara shown here fer informationn! purposes and sro not included in iho lotels.

D. NAME AND ADORESS OF BORROWERAL HARAMA.

z=. NAME AND ADORESS OF SELLER:

IN ISLAMIC FOUNDATION ©
1257 SISKIYOU BOULEVARD, ASHLAND, OR

wk

MUNICIPAL FINANCIAL GROUP, INC.

TiF2LUTTFRELL, BLUE SPRINGS, MO 64015

=, NAME AND ADDRESS OF LENOE!

G PROPERTY TBE DIVISION —

LOCATION: SPRINGFIELD, MO 650803

H, SETTLEMENT AGENT:
PLAGE OF SETTLEMENT:

Tikt XX-XXXXXXX +2

FIRST ESCROW, iNC..
1342 B PRIMROSE, STE 8, SPRINGFIELD, HO 65804 ~: ;

| SETTLEMENT DATE: 6/23/2000

RESCISSION DATE:

i.

SUMMARY OF BORROWER'S TRANSACTION

K.

SUMMARY OF SELLER'S TRANSACTION

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490, GROSS AMOUNT.DUE TO SELLERI sr:

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120. GROSS AMOUNT DUE FROM BORROWER: ” $361,072.00) 499, GROSS AMOUNT DUE TO SELLER: $175,000.00
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304. Gross amount due from borrower (line 120) $441,071.00] 601. Gross amount dua i seiter (line 420) $375,000.00
302 Less amount paid bytar bortower (fine 220) $62,779.76 | 602, Less reductions In amt. dua soller (lina 520} #93752. 92

303. CASH fjrrom) ¢({] 10} BoRROweR;

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GOVERNMENT
EXHIBIT

PAGE 4
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SETTLEMENT CHARGES —
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Case 6:05-cr-60008-AA Document 398-1 Filed 07/13/10 Page 41 of 60

CR 05-60008-HO
Declaration
“ taewit:

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Warranty Deed by Corporation

KNGAW ALL MEN BY THESE PRESENTS: -

That MUNICIPAL FINANCIAL GROUP, INC.

of the County of Tock son in the State of rn S50u0r1 » a Cerparation
erganiced and existing under the laws of the State of party of the first past, in consideration of

TER DOLLARS, AND NO/i000----~

~ DOLLARS
eee
to lt paid by AL HARAMAIN ISLAMIC FOUNDATION, INC., A NOT FOR PROFIT CORPORATION
1257 SISKIYOU BOULEVARD, SUITE 212, ASKLAND OR 97570

of the County of and State af

. party
.. of the second part, the receipt whereof is hereby acknowledged, and by virtue and pursuance of a Resolution of th

Directors of said party of the first part, dogs hy these presents, Geant, Bargain, Sali, Convey and Confirm unto the said party

7 ef the tecend part its heirs and assigns, the following described lots, tracts, or parcels of land, lying, being 0

and situate in the County of = GREEKE and State of ~=MISSOURT

ALL OF THE EAST 10 ACRES OF THE SOUTHEAST QUARTER (SE 1/4) OF THE SOUTHWEST
QUARTER (SH 1/4) EXCEPT THE NORTH 5 ACRES AND EXCEPT THE WEST 200 FEET OF

THE SOUTH 435 FEET, AND EXCEPT ANY PART THEREOF DEEDED, TAKEN OR USED FOR
ROAD OR HIGHWAY PURPOSES, ALL IN SECTION EIGHT (8), TOWNSHIP TWENTY-NINE (29),
RANGE TWENTY-ONE {21) IN GREENE COUNTY, MISSOURI. SUBJECT TOG ALL EASEMENTS OF
RECORD AND ANY PART THEREOF BEING USED FOR ROADWAY PURPOSES.

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TO HAVE AND TO HOLD the premiser aforesald, with all ard singular the rights, privileges, appurtenances, and Immunities

thereto belonging or In anywise appertaining unto ihe said part y of the second part. and unto its heirs and assigns, Forever.

The said party of the first part hereby covenanting that it is lawfully seimed of an indefeasible estate in fee in the premises herein
conveyed; thar it has good right to convey the same; that the said premises are free and clear of any incumbrance done or suffered

by it ar those under whom it claims; and that it will warrant and defend the title ta the sald premiges unto the sald party of the

second part and unig = LES heirs and assigns forever, against the lawful claims and demands of all persons wheen-

seever, EXCEPT TAXES FOR THE YEAR 2000 AND THEREAFTER

“(M WITNESS WHEREOF, the MUNICIPAL FINANCIAL GROUP, INC.

. mgs
the said party of the first part has caused thete presents to be tigned by its Le ca gf " ? wh

and
hereunto affixed, this the

(TL aay ot JUNE
oot HUNTICIBAL RANCTAL GROUP, INC.
C5

a.o, 2000

ats) & Abteaerr.,

GOVERNMENT
EXHIBIT

AHIF - 7
05-CR-GO00R-HO

CARGELS 869.763.0035

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pseda

From: - Alharamain [haramain@atharamain.org]

Sent: Monday, February 21, 2000 9:11 Pl
To! P

Subject: Re: Confirmation

No, I don't did you receive the money?

—— Original Message ~~...

From: P

To: Alharamain

Sent: Monday, February 21, 2000 10:54 4
Subject: RE: Confirmation

Salam

Do you know this brother?

[like to-also advertise in Aljurnah and Islamic Horizen For Dawa work and refugee relief fund InshaAllah.
Love you

Salam
AU

-----Original Message----~
From: Alharamain [maiito:haramain@alharamain.org]

Sent: Sunday, February 20, 2000 10:15 PM
To: Pete

Subject: Fw: Confirmation
Importance: High

Please Abo Yunus chick it and update me soon.
Jazak Allah hair
Soliman

—-~- Original Message —--.

From: s-elfeki

To: haramain

Sent: Sunday, February 20, 2000 03:53 4
Subject: Confirmation

Dear Brothers

Al-Salamu Alaikom.
May Allah bless your efforts supporting our muslim brothers everywhere.

In regard to our previous correspondence, I have the pleasure informing you that J have already

asked my bank in London to make a mansaction to your USA account, using the details you
provided in an earlier e

“mail, as Zakat in order to participate in your nobel support fo our
muslim brothers in Chychnia, and here are the transaction details,

Donation made by Dr. Mahmoud Talaat El-Fild

From his accountin Nation Bank of Kuwait (intenational) Pic, - London
To your account in Bank of America

Transferred amount US$150,000 (A Hundred & Fifty Thousand US Dollars)

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Value. 24/2/2000

What I am asking you to do, is to kindly:

!) Confirm that this amount would be used as ZAKAT

2) Inform me by e-mail as soon as you get the transaction

3) Send me a letter (original document from your establishment} confirming that the

US$150,000 donation has been received as Zakat from Dr. Mahmoud Talaat El-Fild.
Our mailing address is:

4 Ibn Kathir St. - Off Nile St.

Suez Canal Tower - 24/1

12311 Dokki

Giza - Cairo

Egypt

Please contact for any further details.

Your cooperation will be highly appreciated.
All the Best & Al-Salamn Alaikom Wa Rabmatu Allah.

800677

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ALHARAMAIN ISLAMIC FDR. ified lh epefamsi gah hacetan

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Head Office Riy . % i a
General Manager Oflice ise .
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oo

Dear Brother Dr. Mahmoud T. Al-Fiki

As-Salaamu ‘Alaikum Wa Rahmatullahi Wa Barakaatuhu,

i | t and staff, I
¢ of Al-Haramain Foundation managemen i
On oe ike ‘0 thank you for your generous donation of $150,000
(One hundred-fifty thousand dollars) as zakaat.

We appreciate your trust in Al-Haramain islamic Founda
and assure you of our commitment to continue every poss
effort to help ending the Chechnyan crisis.

We pray to Allah subhaanahu wa ta’aalaa to reward you and

guide you to be amongst His devoted, pious servants.
~
rr

—

‘Aqeel Abdul-Aziz Al-Ageel
General Manager

29036
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As Salamu Alaikum
Explanation for the Items that was requested is as follows:

$300
5600
$846.64
$525
$182.64
$100

The above items were all for the accountant (Thomas Wilcox). He takes care of the taxes, IRS
issues,

$397

The check was written to Br. Bilal that was working in the center, and it was for his airplane
ticket. Later on it came out of his pay check.

$55
Membership for credit card for Alharamain:
$5000

Tt was written to Somatian Releif Agency for Sacrificing on Hid and distribute among the needy,
per Br. Soliman.

$85 .
Membership for Costco, for Br. Ageel and Br. Soliman which was refunded later to the account.

$1000 .
For shipping the books and other Items, also buying the things related to packaging.

$185.61

This Item was a part of the check written for credit card bill and was for the Alharamain's guests
came to the center for work.

$2882.61
For Customs expenses for shipping books and other items from KSA.

* 9587.35

Reftigerator for down stairs of Alharamains building.

$399
51425

Above items were paid for Br. Yusuf Estets and his family to come to Ashland and possible

~-employment for Alharamain: First tem-for Renting a car for them: and second-forTicketsto-fly--—- ~

to Ashland and back.
$82.74

for the guests for center and the tent. It was combined expense,

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po0
$44.50
32.50

a,
$227.45 . Prkc
Above items were for 4" of July, for applying to enter the Parade, fok renting the tables to put the
books on for Dawa, and buy some food for the brothers who helped

: ” vos ANY),

$1000 BS otybens & )
Tax attomey Retainer, Miller and Nash Comp. They worked for Alharamain's tax quéstions,
problems,72777277277 297722229 997729999

$21,000

$131,300

The first Items was written per Br. Soliman, and the 2™ check was signed by Br. Soliman. so he
knows the details of them. ”

$320
$540

The items above was for hey for the camel in the center,

ees

$650
$440

Custom expenses for shipping of books and other items from KSA.

$2000
Was sent to springfield for their Iftar in Ramadhan per Br, Abdul Aziz AlShoumar.

316,000 ‘
Was sent to Springfield per Br. AbdulAziz Alshoumar

$20,000
Was sent to AiMadina Islamic School, Per Br. Soliman

at woh, ot “t ps s\
$318,291.74 Dek PELAGIC SE Oe NYS

ba eee ree ee eee EEL ES

$5000
$10,000

Loan Repayment to Abu Yunus. The account didn't have fimds in it, Abu Yunus put these
amounts in there and Alharamain paid him back.

$9 -76666 7 meet ee wee we ee wee mene eee

Check was written to Br. Abdul Qadir for work in summer camp in Ashland, OR. Year 2000
9600 :

Repairs, Cleaning and painting the Musallah.

300702
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$4900 pn pays &
g100 pers nt’

Bankicharges for stablishing Merchant account.

$1200

To Al Huda Islamic School, donation to a needy sister, Per Br. Soliman.
$134.96

Por taxes.

$109.79

For shipment which was paid mistakenly out of account, was refunded in 2001.

$10,000
Was Written to Islamic center of Springfield by Br. Soliman

The corrected{postage amount is $284" 4s ~-
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Brother Abu Yunus
Assalamu Adaikloim Waralmatullah.

Alhamdu Lillah I am in good health and seek the same for you from Allah.
Your message raised 2 questions on the center’s accounts.
1. Payments made during the current period for an event in the previous period.

Let us take some specific instances. All transactions for the year 1999 should be

shown separately, because they belong to a period when brother Soliman was
handling the affairs of the center.

Any cheque drawn during 1999, but realized in year 2000, belongs to 1999, These
amounts should have been shown in 1999 when the cheque was drawn. You can

HIGHLIGHT these payments on the bank statement for year 2000. This will enable
us to reconcile the bank statement with your accounts.

Any cheque drawn during year 2000 for an event relating to year 1999. This amount
should be informed to brother Soliman, so that he would know about it. The accounts
for 1999 will be adjusted accordingly to give a true picture of 1999 activities. As for
the money involved, we will either reimburse this amount separately ifnecessary or
adjustthe year 2000 accounts to eliminate the expense, Please advice immediately, if
there are any payments due for 1999 activities.

The miscellaneous expenses, you have raised are valid, We have discussed and have -
the following suggestions:

® Repairs:
a
Minor Repairs pairs are already provided for, in the budget undef L Utilities.

Major Repairs, You should provide cost involved, and obtain p prior spproval, We
will provide the funds when needed.

As for'the repairs for the accommodation, please provide the cost involved, the
period involved, so that it may be presented to those interested here.
The IRS 2S payment expected to be minimal, and we are proceeding with the
appeal to exempt us from Tax. However, until such time you can give us an
estimate and when a payment is made, please show them under Utilities category.
Legal Fees: When you have such expenses, please provide details ‘and instances.
We will arrange with you for such situation.
Please provide a list of the county charges and Taxes we should p ay every year.
We estimate them to be minimal, and can be shown under Utilities to,
_ What is the accountant fee you have indicated? What is the amount involved?
® Donation of $1,200/- , we will check-up with Brother Soliman.

You have shown $5,000/- as merchant account im February 2000. Please provide
details of these expenses, the nature of expenses etc.,

300432.

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4, Whenever you have an expense not provided in the budget, please show them
below the Total as you have shown in February Report. This will enable us to
foncentrate on these new expenses. Later, when we get your clarification, we will
advise you where to show them. ,

5. Please fax the Bank Statements for the months ending Jan/Feb/Mar.2000.
Please answer all our questions so we can get the clear picture.
Please let me know if you have any question or clarification.

Your brother in Islam

Abduiaziz. § Al-Shoumar
USA Dawah Group

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MONTHLY Sl RY REPORT |
February 2000 , , .
CATEGORY APPROVED THIS CUMULATIVE | BALANCE
AMOUNT $ MONTH | EXPENSES UP
EXPENSES TO DATE

Salaries 18,000 0 397 17603
Uuilities/Tax/T el/Elect/Water 7,200 1444.59 5117.81 | 2082.19
Tent Project _ 6,000 6000
Public Relation/ Hospitality | 3,000 129.61 -212.35 2787.65 .
Post/Mail 15,000 298 32 2705.20 12294.80
TOTAL 49,200 1872.52 "$432.36 40767.64 |

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Merchant Account $5000, Donation for sister $1200, is not included in Total Balance.
Approved By
o Ashland Office Manager

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AHIF - #2
05-CR-60008-HO

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Hein

March 2000
CATEGORY APPROVED THIS CUMULATIVE BALANCE
AMOUNT $ MONTH EXPENSES UP . :
EXPENSES TO DATE
| Salaries 18,000 2024.20 2421.20 15578.80
| Uiilities/Tax/Tel/Blect/Water 7,200 - 5232.46 10350.27 ~3150.27
Tent Project _ 6,000 401.87 401.87 5598.13
Public Relation/ Hospitality 3,000 76 288.35 2711.65
Post/Mail 15,080 2532.39 5237.59 9762.41
| TOTAL 49,200 10266.92 18699.28 30500.72
ie

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Western Somali Relief Agency $5000, To Brother Soliman $21000, To Brother Soliman 9131300, are not included j im
the Total Balance.

Approved By .
a, Ashland Office Manager

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Porch
Rm 2)
(Lower Level)
iducational
ASUS Tower Seda 8 and ¢
Barcode 048544 HP Paviilion 8370
SN# US83651 159
Downstairs
Office
Rm xX
Seda6é
Bedroom Computer tower Bedroom
Under (Rm Y) Berooge 044625 (Rm AA)
Kitchen
io
a.
a closet > fireplace >
Seda 3
Computer E Tower 5002X
SN# QFKO4E0008728
Kitchen
{Rm UV)
Downstairs
Living Room
(Rr T)
Bathroom
(Rm V}

3800 S. Hwy 99
Ashland, OR

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Baihroo
(Rm R)

Kitchen
(Rm Q)

Bedroom
(Rm P)

Bedraom
(Rm OQ)

Deck
Prayer
Deck (Rm J)
Bathroom
{Rm L)
Bedroom
(Rm M)
it
eS
cae

=z
B
@ Living Roam
(Rm 1)
Seda 1 and2
Computer Tower
closet
space
(Ren H)
w
x
a
Foyer
(Rm K)

3800 S. Hwy 99
Ashland, OR
(Upper Level)

Kitchen
(Rm G)

Closet
(Rm F)

Laundry
Room

(Rm D}
Bathroom

(Rm C}
